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                      Exhibit 2
  Case: 1:19-cv-01978 Document #: 73-2 Filed: 06/07/23 Page 2 of 2 PageID #:1314


From:               Daniel Dawson
To:                 "wolflegalusa@gmail.com"; "Scott Wolf (scottwolf.0330@gmail.com)"
Cc:                 Reid, Neville
Bcc:
Subject:            Reid, Trustee v. Michael Wolf, Scott Wolf, and MMQB, Inc. / Case No. 19 cv 1978 / Reply In Support Of Motion
                    For A Rule To Show Cause Why Michael Wolf Should Not Be Held In Contempt (“Motion”),
Date:               Wednesday, May 24, 2023 5:21:00 PM
Attachments:        Reply In Support Of Motion For Rule To Show Cause [69] 05-24-23.pdf


To All,

               Attached is a filed copy of the Trustee’s Reply In Support Of Motion For A Rule To Show
Cause Why Michael Wolf Should Not Be Held In Contempt.

Daniel P. Dawson
Nisen & Elliott, LLC
180 N. LaSalle Street, Suite 3600
Chicago, IL 60601
(ph) (312) 346-7800

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